                                          Case 21-12990                       Doc 20             Filed 06/01/21                   Page 1 of 24


 Fill in this information to identify your case:

 Debtor 1
                     Casey James Bright
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                                (State)
 Case number           21-12990
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 349,400.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 53,313.91
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 402,713.91
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 425,617.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 1,324,349.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,749,966.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 12,603.50
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 12,221.91
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                       Case 21-12990             Doc 20         Filed 06/01/21              Page 2 of 24
                  Casey Bright                                                                                            21-12990
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                               Case 21-12990                            Doc 20                Filed 06/01/21                        Page 3 of 24


Fill in this information to identify your case and this filing:

                    Casey James Bright
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                 Middle Name                 Last Name


United States Bankruptcy Court for the: District of
Maryland
                                                                                                                                                                                                            Check if this is an
Case number 21-12990                                                                                                                                                                                        amended filing
(if know)



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                                  12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?


                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
    1.1 2319 Willow Pond Blvd                                                      Single-family home
            Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
                                                                                      Condominium or cooperative
                                                                                                                                                                Current value of the                Current value of the
                                                                                      Manufactured or mobile home                                               entire property?                    portion you own?
            Sylvania OH          43560
                                                                                      Land                                                                      $ 349,400.00                        $ 349,400.00
            City      State      ZIP Code
                                                                                      Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                      Timeshare                                                                 interest (such as fee simple, tenancy by the
            Lucas County                                                              Other                                                                     entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check one                                 Tenancy by the Entireties
                                                                                   Debtor 1 only
                                                                                      Debtor 2 only                                                                  Check if this is community property
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤             $ 349,400.00


Part 2:            Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes

   3.1 Make:Land Rover                                                           Who has an interest in the property? Check one
                                                                                                                                                               Do not deduct secured claims or exemptions. Put
            Model:LR4                                                              Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                      Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2014
                                                                                      Debtor 1 and Debtor 2 only                                                  Current value of the                  Current value of the
            Approximate mileage: 100,000
                                                                                      At least one of the debtors and another                                     entire property?                      portion you own?
               Other information:
              Condition:Good; Vin no.                                                Check if this is community property (see                                     $ 15,002.00                           $ 15,002.00
              SALAK2V66EA721991;                                                 instructions)




                                                                                                                                                                                                                    page 1 of 5
                                                 Case 21-12990                           Doc 20                Filed 06/01/21                        Page 4 of 24
                  Casey James Bright                                                                                                                              Case number(if known)
Debtor 1         First Name          Middle Name         Last Name
                                                                                                                                                                                                   21-12990


    3.2 Make:Nissan                                                               Who has an interest in the property? Check one
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:Titan XD                                                           Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                       Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2017
                                                                                       Debtor 1 and Debtor 2 only                                                  Current value of the                 Current value of the
           Approximate mileage: 73000
                                                                                       At least one of the debtors and another                                     entire property?                     portion you own?
              Other information:
              Condition:Good;                                                         Check if this is community property (see                                     $ 22,821.00                          $ 22,821.00
                                                                                  instructions)


  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤              $ 37,823.00



 Part 3:         Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Miscellaneous household goods and furnishings.                                                                                                                                                $ 550.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          T.V.'s and Cellphones                                                                                                                                                                         $ 300.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...

          Golf Clubs                                                                                                                                                                                    $ 150.00
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

          Wearing apparel for personal use                                                                                                                                                              $ 250.00




                                                                                                                                                                                                                    page 2 of 5
                                                   Case 21-12990                               Doc 20                  Filed 06/01/21                            Page 5 of 24
                 Casey James Bright                                                                                                                                    Case number(if known)
Debtor 1        First Name            Middle Name           Last Name
                                                                                                                                                                                                       21-12990


  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Wedding Band                                                                                                                                                                                    $ 50.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...

        1 Cat and 1 Dog                                                                                                                                                                                 $ 20.00
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤               $ 1,320.00



 Part 4:        Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                           Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                                       claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................      Cash ...........................    $ 20.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Joint Acct. held at Arvest Bank; Acct. 1753                                                                                         $ 2,642.42

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
        LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately




                                                                                                                                                                                                                     page 3 of 5
                                              Case 21-12990                   Doc 20   Filed 06/01/21         Page 6 of 24
                  Casey James Bright                                                                                   Case number(if known)
Debtor 1        First Name          Middle Name     Last Name
                                                                                                                                               21-12990


  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
           Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                     companies, or others

             No
             Yes.....................       Institution name or individual:
       Security deposit on rental unit             Landlord security deposit                                                                    $ 8,600.00
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit
             No
         Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                    Federal:                   $ 0.00
                                                                                                                    State:                     $ 0.00
                                                                                                                    Local:                     $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....




                                                                                                                                                             page 4 of 5
                                                     Case 21-12990                              Doc 20                  Filed 06/01/21                               Page 7 of 24
                    Casey James Bright                                                                                                                                              Case number(if known)
Debtor 1          First Name            Middle Name           Last Name
                                                                                                                                                                                                            21-12990


  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
          claims
               No
               Yes. Give specific information....

          Funds garnished pre-petition                                                                                                                                                                      $ 2,908.49
  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤                  $ 14,170.91


 Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:            If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above
  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                      ................................................➤
                                                                                                                                                                                                                           $ 0.00

 Part 8:          List the Totals of Each Part of this Form
  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                       $ 349,400.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 37,823.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 1,320.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 14,170.91
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $      0.00

  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 53,313.91                          Copy personal property total➤            +$
                                                                                                                                                                                                                   53,313.91

  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                            $ 402,713.91




                                                                                                                                                                                                                          page 5 of 5
                                       Case 21-12990                Doc 20              Filed 06/01/21              Page 8 of 24

 Fill in this information to identify your case:

                     Casey James Bright
 Debtor 1          __________________________________________________________________
                     First Name                 Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                       (State)
 Case number
  (If known)
                      21-12990
                     ___________________________________________                                                                                      Check if this is an
                                                                                                                                                         amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                           exemption you claim

                                                              Copy the value from                       Check only one box
                                                              Schedule A/B                              for each exemption
                 Household goods - Miscellaneous household goods                                                                       Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief        and furnishings.
 description:
                                                                      550.00
                                                                     $________________           
                                                                                                 ✔ $ ____________
                                                                                                     550.00                            11-504 (b)(4)

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:         6
                 Electronics - T.V.'s and Cellphones                                                                                   Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief
 description:
                                                                       300.00
                                                                     $________________            $ ____________
                                                                                                  ✔  300.00                            11-504 (f)(1)(i)(1)

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:         7
                 Sports and hobby equipment - Golf Clubs                                                                               Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief
 description:                                                        $________________
                                                                       150.00                    
                                                                                                 ✔ $ ____________
                                                                                                     150.00                            11-504 (f)(1)(i)(1)

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           9

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                               page 1 of __
                                  Case 21-12990 Doc 20 Filed 06/01/21 Page 9 of 24
Debtor           Casey James Bright
                _______________________________________________________                        21-12990
                                                                        Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                 Amount of the                       Specific laws that allow exemption
                                                                        Current value of the   exemption you claim
         on Schedule A/B that lists this property                       portion you own
                                                                       Copy the value from    Check only one box
                                                                        Schedule A/B           for each exemption
               Clothing - Wearing apparel for personal use                                                                          Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                               11-504 (b)(4)
description:
                                                                         250.00
                                                                        $________________         250.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         11
               Jewelry - Wedding Band                                                                                               Md. Code Ann., [Cts. & Jud. Proc.] §
Brief
description:                                                            $________________
                                                                         50.00                 
                                                                                               ✔ $ ____________
                                                                                                   50.00                            11-504 (f)(1)(i)(1)
                                                                                                100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:          12
               Pets - 1 Cat and 1 Dog                                                                                               Md. Code Ann., [Cts. & Jud. Proc.] §
Brief
description:                                                            $________________
                                                                         20.00                 
                                                                                               ✔ $ ____________
                                                                                                   20.00                            11-504 (b)(4)

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         13
               Cash (Cash On Hand)                                                                                                  Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                               11-504 (f)(1)(i)(1)
description:
                                                                         20.00
                                                                        $________________         20.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:          16
               Joint Acct. held at Arvest Bank; Acct. 1753 (Checking)                                                               Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                               11-504 (b)(5)
description:
                                                                         2,642.42
                                                                        $________________         2,642.42
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         17.1
               Landlord security deposit (Security Deposits)                                                                        Md. Const. art. III, § 43; 11 USC § 522
Brief                                                                                                                               (b) (3) (B) except to Joint Unsecured
description:
                                                                         8,600.00
                                                                        $________________         8,600.00
                                                                                               ✔ $ ____________
                                                                                                                                    Creditors & IRS
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         22
               Funds garnished pre-petition (owed to debtor)                                                                        Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                               11-504 (f)(1)(i)(1)
description:
                                                                         2,908.49
                                                                        $________________         2,908.49
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:           34

Brief
description:                                                            $________________       $ ____________
                                                                                                100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                            $________________       $ ____________
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:
Brief
description:                                                            $________________       $ ____________
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:
Brief
description:                                                            $________________       $ ____________
                                                                                                100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                            $________________       $ ____________
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                   2
                                                                                                                                                     page ___ of __ 2
                                           Case 21-12990                       Doc 20            Filed 06/01/21                   Page 10 of 24

  Fill in this information to identify your case:

                     Casey James Bright
  Debtor 1
                     First Name           Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name            Middle Name            Last Name


  United States Bankruptcy Court for the: District of Maryland

  Case number        21-12990
  (if know)                                                                                                                                                                     Check if this is an
                                                                                                                                                                                amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                         12/15


  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
  more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
  name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.



  Part 1:         List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If       Column A               Column B               Column C
     more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, list the claims in    Amount of claim        Value of collateral    Unsecured
     alphabetical order according to the creditor’s name.                                                                          Do not deduct the      that supports this     portion If any
                                                                                                                                   value of collateral.   claim
 2.1                                                                            Describe the property that secures the claim: $ 21,660.00                 $ 15,002.00            $ 6,658.00


          Ally Financial
                                                                              2014 Land Rover LR4 - $15,002.00
          Creditor’s Name
          200 Renaissance Ctr # B0
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Detroit MI         48243                                           apply.
          City      State    ZIP Code                                           Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                 At least one of the debtors and another                        An agreement you made (such as mortgage or
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred 2019
                                                                             Last 4 digits of account number 1066

 2.2                                                                            Describe the property that secures the claim: $ 369,755.00                $ 349,400.00           $ 20,355.00


          Benchmark Mtg
                                                                              2319 Willow Pond Blvd, Sylvania, OH 43560 - $349,400.00
          Creditor’s Name
          5160 Tennyson Pkwy Ste 2
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Plano     TX       75024                                           apply.
          City      State    ZIP Code                                           Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                                                                                An agreement you made (such as mortgage or
                 At least one of the debtors and another
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred 2020
                                                                             Last 4 digits of account number 7689



Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                                             page 1 of 2
                 Casey James Bright
Debtor          First Name       Middle Name   Case 21-12990
                                                 Last Name              Doc 20           Filed 06/01/21                Page 11
                                                                                                                            Caseof 24 known) 21-12990
                                                                                                                                 number(if



 2.3                                                                    Describe the property that secures the claim: $ 34,202.00              $ 22,821.00           $ 11,381.00


         Pentagon
                                                                      2017 Nissan Titan XD - $22,821.00
         Creditor’s Name
         P O Box 1432
         Number         Street
                                                                     As of the date you file, the claim is: Check all that
         Alexandria VA           22313-2032                          apply.
         City           State    ZIP Code                               Contingent
         Who owes the debt? Check one.                                  Unliquidated
           Debtor 1 only                                                Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                           Nature of lien. Check all that apply.
                At least one of the debtors and another                 An agreement you made (such as mortgage or
                                                                        secured car loan)
                Check if this claim relates to a community              Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                    Judgment lien from a lawsuit
                                                                        Other (including a right to offset)
         Date debt was incurred 2020
                                                                     Last 4 digits of account number 8202

                  Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                        $ 425,617.00



  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
   you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
   you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                                      page 2 of 2
                                             Case 21-12990                      Doc 20           Filed 06/01/21                   Page 12 of 24

   Fill in this information to identify your case:

                       Casey James Bright
   Debtor 1
                       First Name           Middle Name           Last Name

   Debtor 2
   (Spouse, if filing) First Name             Middle Name           Last Name


   United States Bankruptcy Court for the: District of Maryland

   Case number         21-12990
   (if know)
                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                   amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
 contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts
 and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
 Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
 additional pages, write your name and case number (if known).

   Part 1:         List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

   Part 2:         List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
      creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
      list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                        Total claim


  4.1                                                                         Last 4 digits of account number
          Ally Bank                                                                                                                                                                     $ 33,265.91
                                                                              When was the debt incurred?
          Nonpriority Creditor's Name
          P.O. Box 9001951                                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                                   Contingent
          Louisville KY          40290                                           Unliquidated
          City         State     ZIP Code                                        Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                                                                                Student loans
                 Debtor 2 only
                                                                                 Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
                 Yes
  4.2                                                                         Last 4 digits of account number 5554
          Best Buy/Cbna                                                                                                                                                                     $ 387.00
                                                                              When was the debt incurred? 2020
          Nonpriority Creditor's Name
          50 Northwest Point Road                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                                   Contingent
          Elk Grove Village IL           60007                                   Unliquidated
          City                   State   ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans

                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                     page 1 of 5
                   Casey James Bright
 Debtor           First Name           Middle Name   Case 21-12990
                                                       Last Name         Doc 20         Filed 06/01/21              Page 13
                                                                                                                         Caseof 24 known) 21-12990
                                                                                                                              number(if



  4.3                                                                 Last 4 digits of account number 36RX
          Cannon Finan                                                                                                                               $ 2,224.00
                                                                      When was the debt incurred? 2019
          Nonpriority Creditor's Name
          649 S. Milledge Ave                                         As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Athens GA             30605                                    Unliquidated
          City       State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                          Student loans
                 Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.4                                                                 Last 4 digits of account number
          Capital One Bank Usa N                                                                                                                     $ 2,390.00
                                                                      When was the debt incurred? 2012
          Nonpriority Creditor's Name
          Po Box 31293                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Salt Lake City UT             84131                            Unliquidated
          City                 State    ZIP Code                         Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                          Student loans
                 Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.5                                                                 Last 4 digits of account number
          Capital One Bank Usa N                                                                                                                     $ 3,667.00
                                                                      When was the debt incurred? 2019
          Nonpriority Creditor's Name
          Po Box 31293                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Salt Lake City UT             84131                            Unliquidated
          City                 State    ZIP Code                         Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                          Student loans
                 Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                  page 2 of 5
                   Casey James Bright
 Debtor           First Name         Middle Name   Case 21-12990
                                                     Last Name         Doc 20         Filed 06/01/21              Page 14
                                                                                                                       Caseof 24 known) 21-12990
                                                                                                                            number(if



  4.6                                                               Last 4 digits of account number 1712
          Comenitybank/Kay                                                                                                                         $ 2,309.00
                                                                    When was the debt incurred? 2020
          Nonpriority Creditor's Name
          Po Box 182120                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Columbus OH              43218                               Unliquidated
          City           State     ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                        Student loans

                 Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.7                                                               Last 4 digits of account number 3029
          J Gibson Aut                                                                                                                             $ 8,575.00
                                                                    When was the debt incurred? 2019
          Nonpriority Creditor's Name
          1439 Airport Rd Hot                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Springs AR             71913                                 Unliquidated
          City         State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                        Student loans
                 Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
                 Yes
  4.8                                                               Last 4 digits of account number
          Malvern National Bank                                                                                                              $ 1,252,027.09
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          501 South Main Street                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Malvern AR              72104                                Unliquidated
          City         State      ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                 Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Business Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                  page 3 of 5
                   Casey James Bright
 Debtor           First Name            Middle Name   Case 21-12990
                                                        Last Name         Doc 20             Filed 06/01/21                Page 15
                                                                                                                                Caseof 24 known) 21-12990
                                                                                                                                     number(if



  4.9                                                                  Last 4 digits of account number 1565
          Sst/Medallion                                                                                                                                                       $ 18,720.00
                                                                       When was the debt incurred? 2013
          Nonpriority Creditor's Name
          4315 Pickett Rd                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          Saint Joseph MO               64503                              Unliquidated
          City                 State    ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                           Student loans

                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes

  4.10                                                                 Last 4 digits of account number 2716
          Thd/Cbna                                                                                                                                                                $ 285.00
                                                                       When was the debt incurred? 2020
          Nonpriority Creditor's Name
          Po Box 6497                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          Sioux Falls SD               57117                               Unliquidated
          City            State        ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                           Student loans
                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.11                                                                 Last 4 digits of account number 5213
          Tractor Supply/Cbna                                                                                                                                                     $ 499.00
                                                                       When was the debt incurred? 2020
          Nonpriority Creditor's Name
          Po Box 6497                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          Sioux Falls SD               57117                               Unliquidated
          City            State        ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                           Student loans
                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

   Part 3:         List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to
     collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor
     for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill
     out or submit this page.



         CBNA                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
         Creditor’s Name
                                                                                    Line 4.2      of (Check one):           Part 1: Creditors with Priority Unsecured Claims
         Po Box 6497
         Number        Street                                                                                               Part 2: Creditors with Nonpriority Unsecured
         Sioux Falls SD            57117-6497                                       Claims
         City          State       ZIP Code
                                                                                    Last 4 digits of account number




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 4 of 5
                  Casey James Bright
 Debtor        First Name           Middle Name   Case 21-12990
                                                    Last Name           Doc 20           Filed 06/01/21                Page 16
                                                                                                                            Caseof 24 known) 21-12990
                                                                                                                                 number(if



                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Joseph F Kolb
        Creditor’s Name                                                          Line 4.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        26 Valley Club Circle                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Number        Street
                                                                                Claims
        .         .         72212
        City      State     ZIP Code                                            Last 4 digits of account number


        Splenger Nathanson PLL                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.8     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        900 Adams St
        Number        Street                                                                                           Part 2: Creditors with Nonpriority Unsecured
        Toledo OH           43604                                               Claims
        City      State     ZIP Code
                                                                                Last 4 digits of account number

   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.



                                                                                                                    Total claim

   Total claims           6a. Domestic support obligations                                              6a.   $ 0.00
   from Part 1
                          6b. Taxes and certain other debts you owe the government                      6b.   $ 0.00

                          6c. Claims for death or personal injury while you were                        6c.   $ 0.00
                              intoxicated
                          6d. Other. Add all other priority unsecured claims. Write that                6d.   $ 0.00
                              amount here.
                          6e. Total. Add lines 6a through 6d.                                           6e.
                                                                                                                $ 0.00



                                                                                                                    Total claim

   Total claims           6f. Student loans                                                             6f.   $ 0.00
   from Part 2
                          6g. Obligations arising out of a separation agreement or                      6g.   $ 0.00
                              divorce that you did not report as priority claims
                          6h. Debts to pension or profit-sharing plans, and other similar               6h.   $ 0.00
                              debts
                          6i. Other. Add all other nonpriority unsecured claims. Write that             6i.   $ 1,324,349.00
                              amount here.
                          6j. Total. Add lines 6f through 6i.                                           6j.
                                                                                                                $ 1,324,349.00




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 5 of 5
                                       Case 21-12990                Doc 20         Filed 06/01/21             Page 17 of 24

  Fill in this information to identify your case:


  Debtor 1
                     Casey James Bright
                      First Name           Middle Name        Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name        Last Name


  United States Bankruptcy Court for the: District of Maryland

  Case number         21-12990                                                                                                           Check if this is an
  (if know)                                                                                                                              amended filing




Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
    and unexpired leases.


       Person or company with whom you have the contract or lease                        State what the contract or lease is for

 2.1                                                                                     Residential Lease Lessee
          Helen Won
          Name
          4910 Evening Sky Court
          Street
          Ellicott City MD         21043
          City             State   ZIP Code




Official Form 106G                                          Schedule G: Executory Contracts and Unexpired Leases                                  page 1 of 1
                                      Case 21-12990                   Doc 20          Filed 06/01/21          Page 18 of 24

 Fill in this information to identify your case:


 Debtor 1
                 Casey James Bright
                     First Name       Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name             Last Name


 United States Bankruptcy Court for the: District of Maryland

 Case number         21-12990                                                                                                                Check if this is an
 (if know)                                                                                                                                   amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                                  12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
name and case number (if known). Answer every question.


  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.


       Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:




Official Form 106H                                                          Schedule H: Your Codebtors                                                page 1 of 1
                                    Case 21-12990            Doc 20            Filed 06/01/21        Page 19 of 24

 Fill in this information to identify your case:

                      Casey James Bright
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Maryland  District
                                                                                 tate)
 Case number            21-12990
                     ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
Official Form 106I                                                                                      MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                              Employed
    employers.                                                         Not employed                                  
                                                                                                                      ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Healthcare Executive
                                         Occupation                 __________________________________            __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       10019 Reisterstown Rd
                                         Employer’s name            __________________________________             __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                 Number    Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                      Owings Mills, MD 21117
                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                          How long employed there?________________________
                                                                   11 months                                       ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      18,750.01                     0.00
                                                                                               $___________           $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________
                                                                                                        0.00      +            0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.      18,750.01
                                                                                               $__________                     0.00
                                                                                                                      $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
                 Casey   James Bright
                                          Case 21-12990                        Doc 20              Filed 06/01/21               Page 20 of 24
Debtor 1         _______________________________________________________                                                                          21-12990
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       18,750.01
                                                                                                                          $___________                    0.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        4,582.83
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.        1,563.68
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +            0.00
                                                                                                                                                  $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        6,146.51
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       12,603.50
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           12,603.50
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________      =     12,603.50
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            12,603.50
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                                     Case 21-12990                 Doc 20             Filed 06/01/21             Page 21 of 24

  Fill in this information to identify your case:

                     Casey James Bright
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Maryland
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                       21-12990                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Daughter                                 16            No
                                                                                           _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                            Son
                                                                                           _________________________                 13
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            Son
                                                                                           _________________________                 8
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  4,300.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   300.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                              page 1
                                       Case 21-12990              Doc 20       Filed 06/01/21      Page 22 of 24

                    Casey James Bright                                                                               21-12990
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                   2,657.64
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     450.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                     150.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     425.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                   1,200.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                     100.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     160.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     150.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     160.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     500.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     150.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                      50.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     300.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     547.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                     559.00
                              Alarm system
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                      63.27
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                                       Case 21-12990            Doc 20       Filed 06/01/21            Page 23 of 24

                   Casey James Bright                                                                                   21-12990
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                12,221.91
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                12,221.91
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      12,603.50
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                12,221.91
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    381.59
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                            Case 21-12990         Doc 20           Filed 06/01/21               Page 24 of 24

Fill in this information to identify your case:

Debtor 1           Casey James Bright
                  __________________________________________________________________
                    First Name                 Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Maryland    District of __________
                                                                                (State)
Case number         21-12990
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Casey James Bright
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              06/01/2021
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor’s Schedules
